Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 1 of 14 PageID: 196




                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY

  J. MICHAEL CASALVIERI, JR.,                  x
                                               : CIVIL ACTION NO. 2:18-CV-622-MCA-MAH
                                 Plaintiff,    :
                                               :
                       v.                      :
                                               :
  PRUDENTIAL INSURANCE COMPANY OF :
  AMERICA, INDIVIDUALLY AND IN ITS :
  CAPACITY AS ADMINISTRATOR OF THE :
  PRUDENTIAL MERGED RETIREMENT                 :          AMENDED COMPLAINT AND
  PLAN, AON HEWITT, LLC, AON PLC,              :            JURY TRIAL DEMANDED
  ALIGHT SOLUTIONS, LLC, AON/ALIGHT :
  1-4 (fictitiously named entities whose jural :
  identity is presently unknown), AND          :
  PRUDENTIAL MERGED RETIREMENT                 :
  PLAN                                         :
                                               x
                                 Defendants.


           Plaintiff J. Michael Casalvieri, Jr., by way of Amended Complaint against Defendants

  Prudential Insurance Company of America, Inc., individually and in its capacity as administrator of the

  Prudential Merged Retirement Plan (“Prudential”), Aon Hewitt, LLC, Aon Plc, Alight Solutions, LLC,

  Aon/Alight 1-4, (the “Aon Defendants”) and the Prudential Merged Retirement Plan (“Plan”) alleges

  as follows:

                                        NATURE OF THE ACTION

           1.       Plaintiff J. Michael Casalvieri, Jr. (“Casalvieri”) is a former employee of defendant

  Prudential. Casalvieri brings this action seeking equitable remedies for defendants’ violation, inter

  alia, of §§ 502 (a)(2) and 502 (a)(3) of the Employee Retirement Income Security Act of 1974, as

  amended (“ERISA”), 29 U.S.C. § 1132(a)(2) and 1132(a)(3), and for breach of their fiduciary duty

  under § 404(a) of ERISA, 29 U.S.C. § 1104(a).



  BE:9403687.3/CAS177-271419
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 2 of 14 PageID: 197




                                                  PARTIES

           2.       Casalvieri is an individual residing at 103 Bainbridge Way, Bluffton, South Carolina,

  29910.

           3.       Upon information and belief, defendant Prudential is a Corporation organized pursuant

  to the laws of the State of New Jersey with a principal place of business at 751 Broad Street, Newark,

  New Jersey 07102.

           4.       Defendant Prudential Merged Retirement Plan is a Qualified Retirement Plan under

  ERISA and holds funds in trust for beneficiaries such as Casalvieri.

           5.       Upon information and belief, defendant Prudential is the administrator of the defendant

  Prudential Merged Retirement Plan.

           6.       Upon information and belief, defendant Aon Plc is a public company with a principal

  place of business at the Aon Centre, The Leadenhall Building, 122 Leadenhall Street, London England,

  EC3V4AN and a United States headquarters in Lincolnshire, Illinois.

           7.       Upon information and belief, defendant Aon Hewitt, LLC, a limited liability company

  doing business in Lincolnshire Illinois, contracted with defendant Prudential to assume some or all of

  the responsibilities of the Administrator of the Prudential Merged Retirement Plan.

           8.       Upon information and belief, Aon, Plc is the parent of Aon Hewitt, LLC. Alternatively,

  Aon Hewitt, LLC is a member of a group of companies owned and controlled by Aon, plc.

           9.       Upon information and belief, Alight Solutions, LLC doing business in Lincolnshire,

  Illinois, is the successor, as of May 1, 2017, to Aon Hewitt, LLC and continues to conduct the same

  business as Aon Hewitt, LLC and is otherwise liable for the acts and omissions of Aon Hewitt, LLC.




  BE:9403687.3/CAS177-271419                        2
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 3 of 14 PageID: 198




           10.      At all times herein mentioned, defendants Aon/Alight 1-4 are fictitiously named entities

  whose identities are presently unknown, which entities either participated in, ratified or otherwise bear

  respondeat superior responsibility and/or successor liability for the acts and omissions of AON Hewitt,

  LLC as complained of herein.

                                       JURISDICTION AND VENUE

           11.      Plaintiff asserts claims, inter alia, under §§ 502(a)(2) and 502(a)(3) of ERISA, 29

  U.S.C. §§ 1132(a)(2) and 1132(a)(3). Because this action arises under the laws of the United States,

  this Court has subject matter jurisdiction pursuant to 29 U.S.C. § 1331.

           12.      Venue is proper pursuant to 29 U.S.C. § 1391(b) because a substantial part of the events

  or omissions giving rise to plaintiff’s claims, occurred in this judicial district.

                               ALLEGATIONS APPLICABLE TO ALL COUNTS


           13.      The matter arises in connection with the retirement of Casalvieri from Prudential on

  February 1, 2016, after 29 years of employment with Prudential. His position with Prudential at the

  effective date of his retirement was Regional Vice President, Life (insurance) Wholesaler.

           14.      Casalvieri was a participant in and accrued a pension benefit under The Prudential

  Merged Retirement Plan (“Plan’).

           15.      In October, 2015, Casalvieri utilized a formal pre-retirement process established by

  Prudential, through Prudential’s Benefits Center, in order to determine the optimal time to retire, based

  upon an evaluation of the amount of pension payments he would receive.

           16.      Prudential assigned to Casalvieri, a retirement counselor from AON Hewitt, (“AON”)

  Prudential’s Employee Benefit Administrator under the Plan, by the name of “Rebekah”.

           17.      At all times herein mentioned, AON and Rebekah were fiduciaries to Casalvieri and had

  actual and/or apparent authority from Prudential to counsel Casalvieri regarding pension benefits that



  BE:9403687.3/CAS177-271419                         3
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 4 of 14 PageID: 199




  he would receive in order to determine the optimal time to retire, based upon an evaluation of the

  amount of pension payments he would receive.

           18.      By reason of their status as fiduciaries and by reason of the actual and/or apparent

  authority granted by Prudential to AON, both AON as well as its employee, Rebekah, were and acted

  as agents of Prudential in connection with the Prudential Merged Retirement Plan.

           19.      Over a period of several months, Casalvieri worked directly with Prudential, AON and

  his designated retirement counselor, “Rebekah” and obtained information to enable him to make the

  important and life-changing determination as to whether and when to retire from Prudential .

           20.      During this process, representatives of both Prudential and AON, including Rebekah,

  made numerous oral and written representations to Mr. Casalvieri regarding the amount of monthly

  pension benefit he would receive if he retired, effective as of February 1, 2016.

           21.      Specifically, during three (3) separate phone conversations on October 8, 2015,

  November 20, 2015, and November 30, 2015, Rebekah advised Casalvieri that the monthly benefits

  payable to him under the Joint and 100% Survivor Annuity option would be $9,784.95 per month.

           22.      The advice that Casalvieri received from Rebekah as well as the multiple written

  confirmations to Casalvieri representing that he would receive a monthly pension sum of $9,784.95 if

  he retired as of February 1, 2016 was consistent with the pension amounts represented to Casalvieri

  over an extended period of years in his periodic statements prepared by Aon and/or Prudential.

           23.      These conversations were followed up with multiple written confirmations to Casalvieri

  that represented that Casalvieri would receive a monthly pension sum of $9,784.95 if he retired as of

  February 1, 2016.

           24.      Casalvieri was told by Prudential, AON and Rebekah that in order to implement a

  retirement date of February 1, 2016, such that Casalvieri’s pension benefits would commence on such




  BE:9403687.3/CAS177-271419                        4
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 5 of 14 PageID: 200




  date and that he would receive his first pension check on that date, Casalvieri was required to submit

  an irrevocable election to retire by early December, 2015.

           25.      Rebekah re-confirmed the amount of Casalvieri’s monthly benefit as $9,784.95 and

  indicated that if such amount, if at all, would change, it would adjust upward to reflect Casalvieri’s

  December 2015 compensation that had not yet been taken into account in determining his pension

  benefits.

           26.      In reasonable reliance on all of the many oral and written representations, as aforesaid,

  in early December, 2015, Casalvieri decided to retire and made his irrevocable retirement benefit

  election, under the Plan.

           27.      Moreover, in further reasonable and detrimental reliance upon the many oral and

  written representations as aforesaid, Casalvieri announced his impending retirement to Prudential and

  Prudential, in turn, gave notice, internally, to other Prudential employees, that Casalvieri’s position at

  Prudential had become available and sought candidates to fill that position.

           28.      Prudential did, in fact, hire someone to fill Casalvieri’s position at Prudential prior to

  the effective date of his retirement.

           29.      On December 17, 2015, approximately two weeks after Casalvieri made his required

  and irrevocable retirement elections and after he had announced his impending retirement at Prudential

  to be effective as of February 1, 2016, Casalvieri received a letter from Prudential which confirmed all

  of Mr. Casalvieri’s elections but which listed his monthly payments for the Joint and 100% Survivor

  Annuity option as $8,995.61, a monthly amount of $789.33 less than what was repeatedly represented

  to him orally and in writing as aforesaid and which amount was the key basis for Casalvieri’s decision

  to retire as of February 1, 2016 and to take actions in furtherance of those retirement plans.




  BE:9403687.3/CAS177-271419                         5
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 6 of 14 PageID: 201




           30.      Casalvieri immediately contacted Rebekah at AON, regarding the discrepancy. Rebekah

  expressed that she was stunned and at a loss for any explanation, but assured him that the discrepancy

  in the monthly amount of payments would correct itself once his full year end earnings for 2015 were

  calculated.

           31.      The Final Recalculation Notice package which was received by Casalvieri on March 17,

  2016, did not reflect the higher amount of monthly benefit payment represented on numerous

  occasions by Prudential and AON orally and in writing before he irrevocably elected to retire,

  announced his retirement and had his position offered and filled by Prudential. Instead, it reflected a

  lower benefit payment of $9,139.22 per month, $789.33 per month less than what Mr. Casalvieri was

  promised and owed.

           32.      Casalvieri reasonably relied on the numerous oral and written misrepresentations as

  aforesaid including but not limited to those that he would receive monthly payments of $9,784.95

  (which would be adjusted upward by $143.60 to reflect December 2015 additional compensation. See,

  ¶ 36 infra), in ways including, but not limited to reviewing his retirement date options and, in turn,

  making his retirement benefit elections, and in deciding to retire when he did and in taking action in

  furtherance of his retirement, such retirement decision being a life-altering event in any person’s life.

  Moreover, he reasonably relied on these representations in ways including, but not limited to,

  announcing his planned retirement at Prudential which resulted in his position being offered to others

  at Prudential and being taken by someone else.

           33.      Had Casalvieri been aware, prior to making his irrevocable election to retire, and the

  other actions herein set forth, that the monthly payments would be significantly less than was

  represented for years, he would have opted to remain employed and retire at a later date and, thus be

  eligible for a greater income as a result of continuing to work, continued employment benefits and the




  BE:9403687.3/CAS177-271419                        6
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 7 of 14 PageID: 202




  receipt of even greater monthly retirement payments when he ultimately retired. Moreover, he would

  not have announced his retirement at Prudential which resulted in Prudential announcing availability of

  his position, hiring someone else at Prudential to take his position and his resulting inability to return

  to that position.

           34.      A monthly reduction of $789.33 from the higher pension benefit that was repeatedly

  represented to him and the action that he took in reasonably relying on those representations was

  significantly detrimental to Mr. Casalvieri and caused, and continues to cause, him financial harm.

                   PURSUIT AND EXHAUSTION OF ADMINISTRATIVE REMEDIES


           35.      On September 9, 2016 and, as supplemented on November 23, 2016,                Casalvieri

  instituted an administrative claim for pension benefits in a monthly amount of $9,784.95 and payable

  to him in the form of a Joint and 100% Survivor Annuity.

           36.      On January 17, 2017, Prudential denied Casalvieri’s initial benefit claim, and in that

  denial Prudential stated the he was only entitled to a monthly pension benefit of $9,139.22 instead of

  the $9,784.95 that he was promised.

           37.      Casalvieri, through counsel, filed an appeal of the denial of his initial benefit claim on

  February 23, 2017.

           38.      Specifically, the appeal set forth the basis for equitable relief, including equitable

  estoppel, so as to estopp Prudential from denying Casalvieri the higher monthly pension benefit that he

  had been repeatedly promised, orally and in writing and that Prudential had breached its fiduciary duty

  to Casalvieri.

           39.      Casalvieri supplemented his claim appeal letter, through counsel, which clarified that

  Casalvieri seeks the monthly benefit payment of $9,928.55 from Prudential and not the sum of

  $9,784.95, explaining that the additional $143.60 benefit accrual should be part of Mr. Casalvieri’s



  BE:9403687.3/CAS177-271419                         7
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 8 of 14 PageID: 203




  pension benefit because it was represented and promised to Mr. Casalvieri by Prudential’s

  representatives as reflecting the benefit accrual attributable to certain additional compensation that

  Casalvieri had earned but that had not previously been taken into account, causing Casalvieri to rely

  upon those representations and promises in making his irrevocable retirement election.

           40.      On June 19, 2017, Prudential rendered its determination of Casalvieri’s appeal of the

  prior benefit claim determination. (“The Claim Appeal Determination”).

           41.      The Claim Appeal Determination, despite admitting that a mistake had been made by

  Prudential and Aon Hewitt in the calculation of Casalvieri’s monthly retirement payments, stated, in

  part that: “there is no basis under the terms of retirement plan to approve your appeal. Accordingly,

  your appeal is denied.”

           42.      In Prudential’s Claim Appeal Determination, it also stated, in part, as follows:

                    In your appeal, you raise issues of estoppel, fiduciary breach, detrimental
                    reliance and similar matters as a basis to approve your appeal. These
                    types of matters are beyond the scope of the committee’s review of your
                    appeal which is limited to the determination of Mr. Casalvieri’s pension
                    benefits in accordance with the terms of the retirement plan. The
                    committee cannot address such matters.

           43.      Pursuant to ERISA §503, 29 U.S.C. §1133, DOL Regulations §2560.503-1(h)(2)(iv),

  and Prudential’s fiduciary duties, Casalvieri was entitled to a “full and fair review” of his claim, during

  the administrative appeal process afforded by Prudential.          Pursuant to CFR Title 29 §2560.503-

  1(h)(2)(iv), Casalvieri was entitled to a full and fair review:

                    …that takes into account all comments, documents, records, and other
                    information submitted by the claimant relating to the claim, without
                    regard to whether such information was submitted or considered in the
                    initial benefit determination.

           44.      Prudential’s Retirement Plan included the same “full and fair review” language as

  quoted in the preceding paragraph from CFR Title 29 §2560.503-1(h)(2)(iv).




  BE:9403687.3/CAS177-271419                         8
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 9 of 14 PageID: 204




           45.      Notwithstanding the requirements of the foregoing statute, regulations and the express

  provisions of Prudential’s Retirement Plan, and Prudential’s fiduciary duties to Casalvieri, in denying

  Casalvieri’s appeal of Prudential’s claim denial, Prudential advised that it did not take into

  consideration, Casalvieri’s claims of breach of fiduciary duty and equitable estoppel.

           46.      As a result of Prudential’s failure and refusal to consider Casalvieri’s claims of

  equitable estoppel and breach of fiduciary duty in connection with his appeal of Prudential’s adverse

  benefit claim determination, Prudential failed to provide a “full and fair review” in connection with

  Casalvieri’s appeal, violated inter alia, ERISA, §503, 29 U.S.C. §1133, DOL Reg. 2560.503-

  1(h)(2)(iv) and breached the express provision of its own Retirement Plan, as aforesaid as well as its

  fiduciary duties, to the damage and detriment of Casalvieri.

           47.      Moreover, Prudential’s failure to prove a “full and fair review” and its violation of the

  foregoing statutes and regulations is evidence of arbitrary and capricious conduct and, further,

  indicates that the court should not give any deference to the Plan and that Court review should be de

  novo.

           48.      The Claim Appeal Determination stated that it was a “final adverse benefit

  determination within the meaning of § 503 of the Employee Retirement Income Security Act of 1974

  (“ERISA”), as amended, and the regulations issued thereunder by the Department of Labor.”

           49.      By reason of all of the foregoing, Casalvieri has exhausted his administrative remedies.

                                                   COUNT I

                                      BREACH OF FIDUCIARY DUTY

           50.      Plaintiff repeats each of the foregoing allegations of the Amended Complaint as if more

  specifically set forth at length herein.




  BE:9403687.3/CAS177-271419                         9
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 10 of 14 PageID: 205




           51.      At all times herein mentioned, Prudential and the Aon defendants owed fiduciary duties

  to Casalvieri pursuant to inter alia, ERISA, §404 and 29 U.S.C. §1104.

           52.      Pursuant to ERISA, §405 and 29 U.S.C. §1105, Prudential had a fiduciary duty to

  monitor the performance of its co-fiduciary and/or the persons to whom it delegated certain of

  Prudential’s fiduciary responsibilities under the Plan (i.e., Aon and its duly authorized representatives,

  agents, and employees including Rebekah).

           53.      Pursuant to 29 U.S.C. §1105 “Liability for breach of co-fiduciary, it is provided, in part,

  as follows:

                    (a)        Circumstances Giving Rise to Liabilities

                    In addition to any liability which he may have under any other provisions
                    of this part, a fiduciary with respect to a plan shall be liable for a breach
                    of fiduciary responsibility of another fiduciary with respect to the same
                    plan in the following circumstances:

                                                   *        *     *

                    (2) If, by his failure to comply with §1104(a)(1) of this title in the
                    administrations of his specific responsibilities which give rise to his
                    status as a fiduciary, he has enabled such other fiduciary to commit a
                    breach.

           54.      Under 29 U.S.C. §1104 “Fiduciary Duties”, it is provided, in part, as follows:

                    (a) Prudent Man Standard of Care

                    (1) Subject to §§ 1103(c) and (d), 1342 and 1344 of this title, a fiduciary
                    shall discharge his duties with respect to a plan solely in the interest of
                    the participants and beneficiaries and –

                                                   *        *     *

                    (B) With the care, skill, prudence and diligence under the circumstances
                    then prevailing that a prudent man acting in a like capacity and familiar
                    with such matters would use in the conduct of an enterprise of a like
                    character and with like aims.

           55.      At all relevant times herein mentioned, Prudential, which owed fiduciary duties to

  Casalvieri, breached those fiduciary duties as set forth in 29 U.S.C. §1104(a)(1)(B) by failing to


  BE:9403687.3/CAS177-271419                           10
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 11 of 14 PageID: 206




  adequately monitor and, as necessary, correct the performance of its co-fiduciary or the entities to

  which it delegated its responsibilities under the Plan, the Aon defendants and Rebekah, in the mis-

  calculation of Casalvieri’s retirement benefits and in the retirement-based advice and counseling that

  they provided to Casalvieri.

           56.      In addition to the foregoing, the Aon defendants and Rebekah were fiduciaries to

  Casalvieri pursuant to ERISA §405 and 29 U.S.C. §1105 and/or agents or servants of Prudential, with

  actual or apparent authority, granted by Prudential, to calculate Casalvieri’s retirement benefits and to

  advise Casalvieri regarding the amount of retirement benefits in connection with counseling Casalvieri

  about his retirement options.

           57.      The failure of Prudential and AON to utilize the care, skill, prudence and diligence

  under the circumstances that a prudent man would have utilized, to correctly calculate Casalvieri’s

  retirement benefits and to correctly advise Casalvieri regarding his retirement benefits as aforesaid,

  constituted an additional breach of fiduciary duty.

           58.      As a result of the foregoing, Casalvieri suffered and continues to suffer damages.

           59.      Pursuant to 29 U.S.C. §1132(a)(2), ERISA §502(a)(2), Casalvieri is entitled to obtain

  relief, including but not limited to “other appropriate equitable relief,” including an injunction,

  estoppel, the imposition of a constructive trust upon the Plan on those of its funds, representing the

  difference between the higher and lower monthly principal monthly pension payments represented to

  Casalvieri as well as a surcharge against Prudential, Aon and the Plan requiring them to make

  equitable restitution to Casalvieri, interest, reasonable attorneys’ fees and costs of suit.

           WHEREFORE, Plaintiff J. Michael Casalvieri, Jr. demands judgment in his favor and against

  Defendants, Prudential Insurance Company of America, Inc., individually and in its capacity as

  administrator of the Prudential Merged Retirement Plan (“Prudential”), Aon Hewitt, LLC, Aon Plc,




  BE:9403687.3/CAS177-271419                        11
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 12 of 14 PageID: 207




  Alight Solutions, LLC, Aon/Alight 1-4, and the Prudential Merged Retirement Plan for the following

  relief:

                    (a)        Equitably estopping and enjoining Prudential, Aon, Alight and the Plan from

  limiting Casalvieri’s determined monthly benefits to a $9,139.22 base and requiring Prudential to pay,

  through the Plan, total monthly retirement benefits to Casalvieri in the amount of $9,928.55

  retroactively, consistent with the amount repeatedly represented to Casalvieri as his monthly retirement

  benefit amount and as the amount owed to him;

                    (b)        For the imposition of a constructive trust and declaratory judgment declaring

  and requiring that Prudential, Aon Hewitt, LLC, Aon Plc, Alight Solutions, LLC, Aon/Alight 1-4, and

  the Prudential Merged Retirement Plan make equitable restitution to Casalvieri, in an amount

  representing the accumulated difference between the amount of the full monthly pension benefit

  represented and owed to Casalvieri, and the lower amount calculated, retroactively;

                    (c)        For damages and equitable relief including but not limited to an equitable

  surcharge;

                    (d)        Interest;

                    (e)        Attorneys’ fees and costs of suit; and

                    (f)        For such other and further relief as the court may deem equitable and just.



                                                       COUNT II

            EQUITABLE RELIEF INCLUDING EQUITABLE ESTOPPEL, INJUNCTION,
            CONSTRUCTIVE TRUST AND EQUITABLE RESTITUTION


            60.     Casalvieri repeats each of the allegations set forth in the preceding paragraphs of the

  Amended Complaint as if more specifically set forth at length herein.




  BE:9403687.3/CAS177-271419                            12
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 13 of 14 PageID: 208




            61.     At all times herein mentioned, the representations to Casalvieri regarding the amount of

  his pension benefits, before he elected to retire, were “material representations.”

            62.     At all relevant times herein mentioned, Casalvieri’s reliance upon the representations as

  aforesaid was both reasonable and had a detrimental impact on Casalvieri.

            63.     At all relevant times herein mentioned, extraordinary circumstances were present,

  including, by way of example but not limitation, a network of material misrepresentations made over

  an extended period of years, which were reasonably relied upon by Casalvieri to his detriment.

            64.     Pursuant to 29 U.S.C. §1132(a)(3), ERISA §502(a)(3), Casalvieri is entitled to the

  application of equitable estoppel or injunction in order to require Prudential to provide the same level

  of monthly retirement benefits, through the Plan, that were represented to Casalvieri before he

  irrevocably elected to exercise his choice to retire and took other life changing actions (i.e., $9,784.95

  + additional $143.60 benefit accrual totaling $9,928.55), including interest, reasonable attorneys’ fees

  and costs of suit.

            WHEREFORE, Plaintiff J. Michael Casalvieri, Jr. demands judgment in his favor and against

  Defendants, Prudential Insurance Company of America, Inc., individually and in its capacity as

  administrator of the Prudential Merged Retirement Plan (“Prudential”), Aon Hewitt, LLC, Aon Plc,

  Alight Solutions, LLC, Aon/Alight 1-4, and the Prudential Merged Retirement Plan for the following

  relief:

                    (a)        Equitably estopping and enjoining Prudential, Aon, Alight and the Plan from

  limiting Casalvieri’s determined monthly benefits to a $9,139.22 base and requiring Prudential to pay,

  through the Plan, total monthly retirement benefits to Casalvieri in the amount of $9,928.55

  retroactively, consistent with the amount repeatedly represented to Casalvieri as his monthly retirement

  benefit amount and as the amount owed to him;




  BE:9403687.3/CAS177-271419                          13
Case 2:18-cv-00622-MCA-MAH Document 32 Filed 03/23/18 Page 14 of 14 PageID: 209




                    (b)        For the imposition of a constructive trust and declaratory judgment declaring

  and requiring that Prudential, Aon Hewitt, LLC, Aon Plc, Alight Solutions, LLC, Aon/Alight 1-4, and

  the Prudential Merged Retirement Plan make equitable restitution to Casalvieri, in an amount

  representing the accumulated difference between the amount of the full monthly pension benefit

  represented and owed to Casalvieri, and the lower amount calculated, retroactively,;

                    (c)        For damages and equitable relief including but not limited to an equitable

  surcharge;

                    (d)        Interest;

                    (e)        Attorneys’ fees and costs of suit; and

                    (f)        For such other and further relief as the court may deem equitable and just.

                                                    JURY DEMAND

  Plaintiff demands a trial by jury on all issues so triable.

                                                      BRACH EICHLER L.L.C.


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  Dated: March 23, 2018




  BE:9403687.3/CAS177-271419                            14
